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 7
                                     UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
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     Rothschild Patent Imaging, LLC,                   Case No. 2:23-cv-00456-DJC-JDP
11
                            Plaintiff,                 JOINT STIPULATION OF
12                                                     DISMISSAL
            v.
13
     Afterlight Collective, Inc.,
14
                            Defendant.
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                                    JOINT STIPULATION OF DISMISSAL
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         Case 2:23-cv-00456-DJC-JDP Document 20 Filed 05/24/23 Page 2 of 2


 1          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Rothschild Patent Imaging, LLC and

 2   Defendant Afterlight Collective, Inc. hereby stipulate to the dismissal of all of Plaintiff’s claims
 3
     asserted in this action WITH PREJUDICE and all of Defendant’s counterclaims asserted in this
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     action WITHOUT PREJUDICE, with each party to bear its own attorneys’ fees, costs, and
 5
     expenses.
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 7
     Dated: May 24, 2023                          Respectfully submitted,
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     By: /s/ Randall T. Garteiser                 By: /s/ Michael A. Vincent
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                                  JOINT STIPULATION OF DISMISSAL
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